            Case 1:10-cv-03083-CL      Document 1           Filed 08/30/10        Page 1 of 4


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Joshua Trigsted
Oregon State Bar ID Number 06531
Trigsted Law Group, P.C.
5200 SW Meadows Rd, Ste 150
Lake Oswego, OR 97035
503-376-6774, ext. # 216
866-927-5826 facsimile
jtrigsted@attorneysforconsumers.com
Attorney for Plaintiff


                           UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON
                                MEDFORD DIVISION

                                                 Case No.:
SANDI WILFONG,
                                                 COMPLAINT;" C
              Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 USC § 1692a, et seq.);

PERSOLVE, LLC,                                   DEMAND FOR JURy TRIAL

              Defendant.
                                 I. INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                 II. JURISDICTION

      2.      Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuant to 28 USC § 1331.

                                       III. PARTIES

      3.      Plaintiff, Sandi Wilfong ("Plaintiff'),          IS   a natural person residing        III



                                       Complaint - Page I
             Case 1:10-cv-03083-CL    Document 1       Filed 08/30/10   Page 2 of 4



Klamath County, Oregon.

       4.      Defendant, Persolve, LLC, ("Defendant") is a corporation engaged in the

business of collecting debts by use of the mails and telephone. Defendant regularly

attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

I692a(6).

       6.      Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection ofa "debt," as defmed by 15 USC § I692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      Defendant communicated with Plaintiff after having received a letter from

Plaintiff with a request to cease and desist all collection contacts or a statement that

Plaintiff refuses to pay the debt. Plaintiff contends that these contacts violated 15 USC §

1692c(c).

       10.     After having received a written communication from Plaintiff disputing the

debt within the 30-day period described by 15 USC § 1692g(a), Defendant continued to

contact Plaintiff other than through formal court pleadings and never provided validation

of the debt (§ 1692g(b)).


                                      Complaint - Page 2
             Case 1:10-cv-03083-CL     Document 1       Filed 08/30/10   Page 3 of 4




       11.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       12.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       13.     Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       14.     To the extent Defendant's actions, detailed in paragraphs 8-10, were carried

out by an employee of Defendant, that employee was acting within the scope of his or her

employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       16.     The preceding paragraphs state a prima faCie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ l692g(b) & l692c(c).

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant's conduct violated the FDCPA;

       B.      Actual damages pursuant to 15 USC l692k;


                                       Complaint - Page 3
           Case 1:10-cv-03083-CL     Document 1        Filed 08/30/10       Page 4 of 4



      C.     Statutory damages pursuant to 15 U.S.C. § 1692k;

      D.     Costs, disbursements and reasonable attorney's fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.     For such other and further relief as may be just and proper.

              PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                              Dated this 26th day of August, 2010.



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                                                  Josh'-u'"""f:!T="'n"":"!.' J'o"t1'+:----
                                                  Trigst d La Group, P.C.
                                                  5200 SW Meadows Rd, Ste 150
                                                  Lake Oswego, OR 97035
                                                  503-376-6774, ext. # 216
                                                  866-927-5826 facsimile
                                                  Attorney for Plaintiff




                                     Complaint - Page 4
